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                                EXHIBIT 27



                                 In Support of


          Plaintiff United States’ Memorandum of Law in Support of the
         United States’ Second Motion for Partial Summary Judgment; and
            Statement of Undisputed Material Facts in Support Thereof
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 1   to those specific topics, you're also here
 2   fully prepared to talk as an individual
 3   witness about that Investigation, true?
 4           A.     I am.
 5           Q.     And we'll try to make it clear
 6   as we go through which hat you're wearing as
 7   I ask these questions.
 8           A.     Okay.
 9           Q.     Let me ask you to look at the
10   binder that I've got there, that's the
11   Macondo Well Incident Report, and I'll ask
12   you to verify that that is the written
13   Transocean Investigation Report of June 2011
14   that resulted from the Investigation that you
15   lead?
16           A.     Yes, it is.
17           Q.     Now, Volume 1 is the Report
18   itself, Volume 2 are 17 Appendices, A through
19   Q, true?
20           A.     Yes, I believe that's true.
21           Q.     What -- let's be more specific
22   of what role you played in the preparation of
23   this Report.    Did you write certain sections
24   of this Report?
25           A.     I did write certain sections of


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 1   the Report, yes.
 2          Q.      Which -- can you just generally
 3   tell us what sections you were responsible
 4   for writing?
 5          A.      Not one particular section in
 6   total.   But I -- I did write portions of the
 7   Executive Summary, the Findings of Fact,
 8   Section 2, and Sections 3.1 to 3.3.
 9          Q.      When you say "Section 2," do you
10   mean "Chapter 2, Incident Chronology and" --
11   "and Overview"?
12          A.      Yes, Chapter 2.
13          Q.      Okay.
14          A.      And then Chapter 3, 3.1, 3.2,
15   3.3.
16          Q.      And for the record, Chapter 3
17   deals with "Incident Analysis."        3.1 is "Well
18   Design and Production Casing Cement."          3.2 is
19   "Temporary Abandonment."       3.3 is "Drill Floor
20   Activities."    Those three subsections of
21   Chapter 3 you wrote or participated in
22   writing?
23          A.      I participated.      I did not write
24   them in total.
25          Q.      And the same with respect to all


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 1   of Chapter 2 and the Executive Summary.
 2                    Did you also participate in
 3   writing Chapter 4, the "Key Findings" of the
 4   Investigation?
 5           A.       I did have input, yes.
 6           Q.       I will mark, then, as the next
 7   exhibit the Transocean Investigation Report
 8   of the Macondo Well incident dated June 20 --
 9   I'm sorry, June 2011 with all Appendices.
10           MR. MEUNIER:    And I'll mark that as the
11   next exhibit, which is --
12           THE COURT REPORTER:     4248.
13                (Exhibit No. 4248 marked.)
14           MR. MEUNIER:    -- Exhibit 4248.
15           MS. CLINGMAN:    (Indicating.)
16           Q.       (By Mr. Meunier) The date given
17   for the Report is June 2011.        Can you be more
18   specific about when this written Report was
19   finalized in the month of June?
20           A.       It was in the first --
21   finalized, it was in the first week or so of
22   June.
23           Q.       When was it published?
24           A.       Officially published, it was the
25   week of the 20th, but I don't know the


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